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  AO 245B (Rev. lOllS) Judgment in a Criminal Case
                       Sheet I



                                               UNITED STATES DISTRICT COURT
                                                             District of Massachusetts
                                                                              )
                      UNITED STATES OF AMERICA                                ) JUDGMENT IN A CRIMINAL CASE
                                       v.                                     )
                                BIENVENIDO NUNEZ                              )
                                                                              )      Case Number: 3: 15 CR 30036                   - 001 - MGJ\t
                                                                              )      USM Number:            ~7106-038
                                                                              )
                                                                              )       Charles E. Dolan
                                                                              )      Defendant's Attorney
  THE DEFENDANT:
  III pleaded guilty to count(s)            1 and '2

  D pleaded nolo contendere to count(s)
    which was accepted by the court.
  D was found guilty on count(s)
    after a plea of not guilty.

  The defendant is adjudicated guilty of these offenses:

  Title & Section                     Nature of Offense                                                         Offense Ended              Count
21 U.S.C. § 841,§ 841(b)(IXc)       Distribution and Possession with Intent to Distribute Heroin                  08/04/15
18 USC § 922(g)( 1)                Felon in Possession of a Firearm and Arhmunition                               11109115         2




         The defendant is sentenced as provided in pages 2 through           _ _6_ _ of this judgment. The sentence is imposed pursuant to
  the Sentencing Reform Act of 1984.
  D The defendant has been found not guilty on count(s)

  DCount(s)                                                  Dis         are dismissed on the motion of the United States.
                        ----~---------



           It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change ofn~e, residence,
  or mailing address until all fines, restitution, costs, and spec,ial assessments imposed by this jud,&ment are fully paid. Ifordered to pay restitution,
  the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                             8/18/2016




                                                                            Signature of Judge

                                                                                     The Honorable Mark Mastroianni
                                                                                     Judge, U.S. District Court
                                                                            Name and Title of Judge



                                                                            Date
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AO 2458 (Rev. lOllS) Judgment in Criminal Case
                       Sheet 2 - Imprisonment
                                                                                                    Judgment - Page ---'2"'----_ of
 DEFENDANT: BIENVENIDO NUNEZ
 CASE NUMBER: 3: 15 CR 30036                      - 001 - MGti

                                                           IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:       18        month(S)
  concurrent




     o   The court makes the following recommendations to the Bureau of Prisons:




    III The defendant is remanded to the custody of the United States Marshal.

     o   The defendant shall surrender to the United States Marshal for this district:

          o   at                                 0 a.m:      "0 p.m.       on

          D as notified by the United States Marshal.

     o   The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          D before 2 p.m. on
          D as notified by the United States Marshal.
          D as notified by the Probation or Pretrial Services Office.


                                                                 RETURN
I have executed this judgment as follows:




         Defendant delivered on                                                          to

a ___         ~_ _ _ _ _ _ _ _ _ _ _              , with a certified copy of this judgment.



                                                                                                 UNITED STATES MARSHAL


                                                                        By
                                                                                              DEPUTY UNITED STATES MARSHAL
                         Case 3:15-cr-30036-RWZ Document 49 Filed 08/24/16 Page 3 of 6


AO 245B (Rev. 10115) Judgment in a Criminal Case
                      Sheet 3 Supervised Release
                                                                                                              Judgment-Page     _8__        of          6
 DEFENDANT: BIENVENIDO NUNEZ
 CASE NUMBER: 3: 15 CR 30036                         - 001 - MGti
                                                         SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term of:                     36 month(s)


         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
 custody of the Bureau ofPrisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment ana at least two periodic drug tests
thereafter, as determined by the court.
 D        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
          future substance abuse. (Check. ifapplicable.)
          The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.            (Check. ifapp/icable.)

          The defendant !,lhall cooperate in the collection ofDNA as directed by the probation officer.     (Check, ifappllcable.)


 D        The defendant shall comply with the requirements 'of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
          as directed by the probatIon officer, the Bureau ofPrisons, or any state sex offender registration agency in which he or she resides,
          works, is a student, or was convicted of a quali fYing offense. (Check, ifapplicable.)

          The defendant shall participate in an approved program for domestic violence.     (Check. ifapplicable.)

        If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule ofPayments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.                                '

                                        STANDARD CONDITIONS OF SUPERVISION
     1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)      the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
   3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions ofthe probation officer;
   4)      the defendant shall support his or her dependents and meet other family responsibilities;
     5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
     6)    the defendant shall notifY the probation officer at least ten days prior to any change in residence or employment;
   7)      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
           controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
   8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)      the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
           felony, unless granted permission to do so by the probation officer;
 10)       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
           contraband observea in plain view of the probation officer;                                  ,
 11)       the defendant shall notifY the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)       the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           permission of the court; and
 13)       as directed by the probation officer, the defendant shall notifY third parties ofrisks that may be occasioned by the defendant's criminal
           record or Rersonal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
           defendant s compliance with such notification requirement.
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AD 245B (Rev. 10115) Judgment in a Criminal Case
          Sheet 3C - Supervised Release
                                                                                            Judgment-Page ~ of        _--",6__
DEFENDANT: BIENVENIDO NUNEZ
CASE NUMBER: 3: 15 CR 30036                        - 001 - MGti

                                          SPECIAL CONDITIONS OF SUPERVISION
 1. The defendant is prohibited from possessing a firearm, destructive device, or other dangerous weapon.

 2. The defendant is prohibited from associating with members and associates of the Latin Kings and/or other known gangs
 and/or criminal organizations.

 3. The defendant is to participate in a program for substance abuse counseling as directed by the Probation Office, which
 program may include testing, not to exceed 104 drug tests per year to determine whether the defendant has reverted to
 the use of alcohol or drugs. The defendant shall be required to contribute to the costs of services for such, treatment based
 on the ability to payor availability of third-party payment.
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AD 2458 (Rev. 10/15) Judgment in a Criminal Case
           Sheet 5 - Criminal Monetary Penalties
                                                                                                          Judgment - Page   _--,5,,--_ of   6
DEFENDANT: BJENVENJDO NUNEZ
CASE NUMBER:  3: 15 CR 30036                            - 001 - MGlH
                                                   CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                         Assessment                                                                              Restitution
TOTALS               $    200.00                                        $                                    $


 o    The determination of restitution is deferred until
                                                         ---
                                                            . An Amended Judgment in a Criminal Case (AO 245C) will be entered
      after such determination.

o     The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      lfthe defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
      the priorit)t order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
      before the United States is prud.




                                                                    $                    0.00 $                      0.00
TOTALS


o      Restitution amount ordered pursuant to plea agreement $ _ _~_ _ _ _ _ __

o     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(t). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

o     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       o    the interest requirement is waived for the         0 fine       0 restitution.
       o    the interest requirement for the        D   fine    0   restitution is modified as follows:

* Findings for the total amount oflosses are required under Chapters 109A, 110, 11 OA, and 113A ofTitle 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
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AO 2458 (Rev. 10/15) Judgment in a Criminal Case
        Sheet 6 - Schedule ofPayments
                                                                                                              Judgment- Page        6      of          6
 DEFENDANT: BIENVENIDO NUNEZ
 CASE NUMBER:   3: 15 CR 30036                        - 001 - MGti

                                                      SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment ofthe total criminal monetary penalties is due as follows:

A      !2l Lump sum payment 0[$ _2_0-'-0-'-,_0_0_ _ _ _ due immediately, balance due

            o     not later than _ _ _--::-_ _ _,----__ ,or
            o     in accordance     0 C, 0 D, 0 E, or                          o   Fbelow; or

 B     0    Payment to begin immediately (may be combined with              0 C,         o D, or       0 F below); or
c 0         Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $                             over a period of
                         (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or
           -----
D      0    Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                          over it period of
           _ _--;::__ (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
            term of supervision; or

E      0    Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment ofthe defendant's ability to pay at that time; or

F      0    Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, ifthis judgment imposes imprisonment, payment ofcriminal monetary penalties is due during
imprisonment. All Criminal monetary penalties, except those payments made through the Federal Bureau of PrIsons' Inmate Financial
Responsibility Program, are made to the clerk ofthe court,

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




o     Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




o     The defendant shall pay the cost of prosecution,

o     The defendant shall pay the following court cost(s):

o     The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
